                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA,          )
                                   )               DOCKET NO: 3:18-CR-394-MOC-DSC
     V.                            )
                                   )               ORDER
                                   )
ISAI MIRANDA AYALA                 )
___________________________________)

       This matter is before the Court on its own Motion to administratively close the case as to

Isai Miranda Ayala. The defendant appears to remain a fugitive with no activity taking place in

this case in recent times.

       It is, therefore, ORDERED that this case be deemed closed for administrative purposes

only, subject to re-opening upon the apprehension or appearance of the defendant.



                                        Signed: October 20, 2020




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